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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
DYLAN TOKAR,                        )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )  Civil Action No. 16-2410 (RC)
                                    )
UNITED STATES                       )
DEPARTMENT OF JUSTICE,              )
                                    )
      Defendant.                    )
                                    )

                                        STATUS REPORT

         Pursuant to the Court’s order dated February 1, 2019, Plaintiff Dylan Tokar (“Plaintiff”)

and Defendant United States Department of Justice (“Defendant” or “DOJ”), by and through

undersigned counsel, report to the Court as follows.

         1. This lawsuit involves two Freedom of Information Act (“FOIA”) requests directed to

DOJ. In prior status reports, Defendant stated that it had completed its processing and production

of records, to the extent non-exempt under FOIA, with respect to the matters identified in the

Court’s Memorandum Opinion of March 29, 2018. The parties also reported that the parties

required additional time to confer to determine if any outstanding issues remain to be litigated.

         2.    Having conferred, the parties have determined that there remain outstanding issues

to be litigated regarding withholdings made by DOJ in its productions subsequent to the March

29, 2018 Memorandum Opinion, and propose the following briefing schedule to address that

issue:
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Defendant’s Renewed Motion for Summary Judgment:         April 4, 2019

Plaintiff’s Opposition and Cross-Motion:                 May 17, 2019

Defendant’s Reply and Opposition to Cross-Motion:        June 10, 2019

Plaintiff’s Reply:                                       June 28, 2019

                             Respectfully submitted,

                             JESSIE K. LIU, D.C. BAR # 472845
                             United States Attorney

                             DANIEL F. VAN HORN, D.C. BAR # 924092
                             Civil Chief

                             By: _____/s/__________________
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                                     AND

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